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               IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



BCBSM, INC., et al.,                            Case No. 1:20-cv-01853

     Plaintiffs,
                                                 Honorable Virginia M. Kendall
                       v.                        Honorable Sheila M. Finnegan

WALGREEN CO. & WALGREENS BOOTS                   Related Cases:
ALLIANCE, INC.,                                  Case No. 1:20-cv-04738
                                                 Case No. 1:20-cv-03332
     Defendants.                                 Case No. 1:20-cv-01929
                                                 Case No. 1:20-cv-04940
                                                 Case No. 1:22-cv-01362
WALGREEN CO. & WALGREENS BOOTS
ALLIANCE, INC.,

      Third-Party Plaintiffs,

                       v.

PRIME THERAPEUTICS LLC & OMEDARX, INC.,

      Third-Party Defendants.




                                JOINT STATUS REPORT
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         Pursuant to the Court’s November 21, 2022 Order (ECF No. 358), the Initial Plaintiffs,1

the Additional Plaintiffs,2 Defendant / Third-Party Plaintiff Walgreen Co. (“Walgreens”) and

Defendant Walgreens Boots Alliance, Inc. (together with Walgreens, “Defendants”), and Third-

Party Defendant Prime Therapeutics LLC (“Prime”), through their respective counsel, respectfully

submit the following Joint Status Report.

    I.    The Current Deadlines Imposed by the Court and Whether the Matter Has
          Been Referred to the Magistrate Judge in Any Fashion

          A.     Deadline for the Close of Fact Discovery

         By order dated September 15, 2022 (ECF No. 336), fact discovery is currently set to close

on April 28, 2023.

          B.     Referral to Magistrate Judge

         On April 11, 2022, the Court referred this case to Magistrate Judge Sheila Finnegan for

general discovery supervision. (ECF No. 252.)


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  BCBSM, Inc. (d/b/a Blue Cross and Blue shield of Minnesota); HMO Minnesota (d/b/a Blue
Plus); Health Options, Inc. (d/b/a Florida Blue HMO); Blue Cross and Blue Shield of North
Carolina; Blue Cross Blue Shield of North Dakota; Blue Cross and Blue Shield of Florida, Inc.
(d/b/a Florida Blue); Blue Cross and Blue Shield of Alabama; Blue Cross and Blue Shield of
Kansas, Inc.; Blue Cross and Blue Shield of Massachusetts, Inc.; Blue Cross and Blue Shield of
Massachusetts HMO Blue, Inc.; Wellmark, Inc. (d/b/a Wellmark Blue Cross and Blue Shield and
d/b/a Wellmark Blue Cross and Blue Shield of Iowa); Wellmark of South Dakota, Inc. (d/b/a
Wellmark Blue Cross and Blue Shield of South Dakota); Wellmark Health Plan of Iowa, Inc.;
Wellmark Synergy Health, Inc.; Wellmark Value Health Plan, Inc.; Blue Cross and Blue Shield of
Arizona, Inc. (d/b/a Blue Cross Blue Shield of Arizona and d/b/a AZBLUE); Asuris Northwest
Health; Blue Cross and Blue Shield of Kansas City, Inc.; Cambia Health Solutions, Inc.; Regence
BlueShield of Idaho, Inc.; Regence BlueCross BlueShield of Oregon; Regence BlueCross
BlueShield of Utah; Regence BlueShield; HealthNow New York, Inc.; Highmark Western New
York, Inc. (f/k/a Blue Cross of Western New York); Northeastern New York (f/k/a BlueShield of
Northeastern New York); Horizon Healthcare Services, Inc. (d/b/a Horizon Blue Cross Blue Shield
of New Jersey); and Horizon Healthcare of New Jersey, Inc. (d/b/a Horizon NJ Health).
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  CareFirst of Maryland, Inc.; Group Hospitalization and Medical Services, Inc.; CareFirst
BlueChoice, Inc.; Blue Cross and Blue Shield of South Carolina; BlueChoice HealthPlan of South
Carolina, Inc.; Louisiana Health Service & Indemnity Company, d/b/a/ Blue Cross and Blue Shield
of Louisiana, and HMO Louisiana, Inc.

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           C.       Expert Discovery

       By order dated September 15, 2022 (ECF No. 336), expert discovery is currently governed

by the following deadlines:

                   June 9, 2023 – Opening expert reports due

                   July 18, 2023 – Rebuttal expert reports due

                   September 1, 2023 – Close of expert discovery

           D.       Proposed Pre-Trial Scheduling Order and Dispositive Motions

       By order dated September 15, 2022 (ECF No. 336), the parties are to submit a proposed

pre-trial scheduling order, including deadlines for dispositive and pre-trial motions, by September

8, 2023.

 II.       The Progress of Discovery

           A.       Document Production and Written Interrogatories

       As reported in the November 18, 2022 Joint Status Report, the parties are currently

engaged in written discovery and continue to produce documents and respond to written

discovery requests. The parties have continued to engage in a largely productive dialogue

regarding ongoing discovery obligations and have exchanged letters over the course of the past

several months and weeks outlining concerns and expectations in this regard. There remain open

disputes regarding the scope of certain written discovery, on which the parties continue to confer.

       On November 22, 2022, the District Court denied Defendants’ motion to dismiss the

Additional Plaintiffs’ complaint for lack of subject matter jurisdiction (ECF No. 360). Counsel

for the Additional Plaintiffs and Defendants promptly began conferring on discovery logistics

following the Court’s November 22, 2022 order. The Additional Plaintiffs and Defendants have

each served written discovery requests. Defendants have provided the Additional Plaintiffs with



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the written and document discovery produced by Defendants before the Additional Plaintiffs

joined the case and served written responses and objections to the Additional Plaintiffs’ document

requests.

         B.      Depositions of the Parties and Their Former and Current Employees

        Plaintiffs have taken depositions of one current and two former Walgreens employees.

        The Initial Plaintiffs / Counter-Defendants and Defendants have exchanged initial drafts

of topic lists for corporate representative depositions. The Additional Plaintiffs and Defendants

intend to exchange initial drafts of topic lists in the coming weeks.

         C.      Parties’ Positions on Discovery Schedule

        Initial Plaintiffs/Counter-Defendants’ Position.

        The Initial Plaintiffs incorporate by reference their comments in prior discovery status

reports. The Initial Plaintiffs anticipate completing all discovery by the dates currently prescribed

in the schedule. Since the filing of the last Joint Status Report on November 18, 2022, the Initial

Plaintiffs have extended their document productions with more documents produced by the

overlapping custodians in BCBS of Alabama, et al. v. CVS Health Corp., et al., 1:20-cv-236

(D.R.I.) (“CVS”) and additional documents from agreed-upon custodians in CVS that were not

selected originally as production custodians by the Initial Plaintiffs. Further, Initial Plaintiffs have

agreed to supplement their document productions with responsive files from two new custodians

and intend to provide additional responsive documents identified as presumptively-relevant by

their technology-assisted-review model.       Initial Plaintiffs’ document review and production

workflow remains continuous and ongoing.

        Finally, the Initial Plaintiffs dispute Defendants’ assertion regarding “material gaps in

Plaintiffs’ document productions.”



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         Additional Plaintiffs’ Position.

         The Additional Plaintiffs incorporate by reference their comments in prior discovery status

reports. Following the Court’s ruling on Defendants’ Motion to Dismiss (ECF No. 360), the parties

are engaging in discovery. Thus far, both Defendants and Additional Plaintiffs have exchanged

initial discovery requests for both interrogatories and production of documents. The Additional

Plaintiffs are also pursuing their third-party subpoenas. The Additional Plaintiffs’ also may file an

Amended Complaint, pursuant to the leave granted by the Court. (ECF No. 360). Their deadline

to file an Amended Complaint is this Thursday, December 22, 2022.

         Defendants’ Position.

         Defendants continue to believe that fact discovery can be completed within the current

schedule provided that certain fundamental issues underlying Initial Plaintiffs’ document

productions can be resolved promptly and all Plaintiffs and Prime can complete their document

productions with dispatch. As reported in the November 18, 2022 Joint Status Report, Defendants

recently discovered material gaps in the Initial Plaintiffs’ document productions and have raised

concerns about those gaps’ implications for the Initial Plaintiffs’ broader search and review.

Defendants expect to file a motion to compel for the Court’s intervention in these matters such that

Defendants can get sufficient document discovery with enough time to complete their depositions

within the current schedule.

         Third-Party Defendant, Prime’s Position.

         Prime expects to complete all discovery within the dates in the current scheduling order.

  III.     Other Third-Party Discovery

         The Initial Plaintiffs/Counter-Defendants have issued subpoenas to the following third-

party entities:



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          National Council of Prescription Drug Programs, Inc.

          Pharmaceutical Care Management Association

          Costco Wholesale Corporation

          The Kroger Co.

          Elixir Rx Solutions, LLC

          GoodRx Holdings, Inc.

          Klix, LLC d/b/a Easy Drug Card

          Towers Administrators LLC d/b/a SingleCare Administrators

          NeedyMeds, Inc.

          U.S. Pharmacy Card, LLC

          Discount Drug Network, LLC

          Texas Health and Human Services

          Oregon Health Authority

          Connecticut Department of Social Services

    The Additional Plaintiffs have issued subpoenas to the following third-party entities:

          Caremark, LLC

          Express Scripts, Inc.

          OptumRx, Inc.

          Walmart, Inc.

          Target Corporation

          WAGDCO, LLC

          MedImpact Healthcare Systems, Inc.

          Envolve Pharmacy Solutions Pharmacy Solutions, Inc.

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              Leehar Distributors, LLC

              Medical Security Card Company, LLC

       Defendants / Counter-Plaintiff have issued subpoenas to the following third parties:

              Bretta Grinsteinner

              Blue Cross Blue Shield Association

              Caremark, LLC

              Express Scripts, Inc.

              MedImpact Healthcare Systems, Inc.

              OptumRx, Inc.

              Preferred Care Services, Inc.

              EPIC Pharmacy Network, Inc.

              Health Mart Atlas, LLC

              Wholesale Alliance, LLC

 IV.    The Status of Discovery Motions

       The Initial Plaintiffs and Additional Plaintiffs filed on October 21 a Motion to Compel

(ECF No. 339) the production of certain documents clawed back by Defendants based on a claim

of privilege or protection. Defendants filed their Opposition to Plaintiffs’ Motion to Compel on

November 4 (ECF No. 347), Plaintiffs filed a Reply in Support of their Motion to Compel on

November 11 (ECF No. 349), and Walgreens filed a Motion to Strike Waived Arguments from

Plaintiffs’ Reply on November 17 (ECF No. 355).

       Defendants expect that they also will shortly file a motion to compel related to the material

gaps in Plaintiffs’ document productions Defendants described above, as well as other issues on

which the parties have reached an impasse.


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 V.      Whether the Parties Have Engaged or Are Engaging in Settlement Discussions

       The parties have not engaged in settlement discussions.

 VI.     Whether the Parties Believe a Telephonic Hearing or In-Person Hearing Is
         Necessary Within the Next 60 Days

       In the event that Defendants file a motion to compel, Defendants anticipate a need for a

hearing to resolve such motion. Absent such a motion, the parties do not anticipate the need for

a hearing within the next 60 days.

       Pursuant to the Court’s May 25, 2022, Order (ECF No. 276), the parties shall continue to

provide joint status reports at 30-day intervals. Subject to the Court’s approval, the parties will

file the next status report by January 18, 2023.




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Dated: December 19, 2022                         Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I, Charles D. Zagnoli, an attorney authorized to practice before this Court, hereby

certify that the foregoing Join Status Report was electronically filed on December 19, 2022,

and will be served electronically via the Court’s ECF Notice system upon the registered parties

and counsel of record.



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